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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :      20-CR-354 (LJL)
                                                                       :
ANTHONY GUZZONE,                                                       :     RESCHEDULING
                                                                       :        ORDER
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X


LEWIS J. LIMAN, United States District Judge:

        It is HEREBY ORDERED that the change of plea hearing previously scheduled for September
14, 2020 is rescheduled to September 29, 2020 at 12:00PM in Courtroom 15C at the 500 Pearl Street
Courthouse. The Court, upon consent of both parties, excludes time under the Speedy Trial Act until
September 29, 2020 pursuant to 18 USC 3161(h)(7)(A) based upon the finding that such an exclusion
of time would best serve the ends of justice and outweigh the best interest of the public and the
defendant in a speedy trial.


        SO ORDERED.

Dated: September 14, 2020                                  __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
